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 7   Attorneys for Governor Gavin Newsom and
     Sonia Y. Angell, in their official capacities
 8
 9                     IN THE UNITED STATES DISTRICT COURT
10                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
11
12
     ASHTON FORBES,                               3:20-cv-00998-BAS-JLB
13
                                      Plaintiff, STATE DEFENDANTS’ NOTICE
14                                               OF MOTION AND MOTION TO
                  v.                             DISMISS SECOND AMENDED
15                                               COMPLAINT
16   COUNTY OF SAN DIEGO,
     GOVERNOR GAVIN NEWSOM in                    Judge:    Hon. Cynthia A. Bashant
17   his official capacity, SONIA Y.             Courtoom: 4B
     ANGELL, in her official capacity,
18   and DOES 1-50,
                                                  Hearing Date : Tuesday, Sept. 8, 2020
19                                 Defendants.
                                                  NO ORAL ARGUMENT UNLESS
20                                                REQUESTED BY THE COURT
21
22
23   TO THE HONORABLE COURT AND COUNSEL FOR ALL PARTIES:
24        PLEASE TAKE NOTICE that on Tuesday, September 8, 2020, at the United
25   States District Court, Southern District of California, Edward J. Schwartz United
26   States Courthouse, 221 West Broadway, San Diego, California 92101, Courtroom
27   4B, before the Honorable Cynthia A. Bashant, Defendants Governor Gavin
28   Newsom, and State Public Health Officer and Director of the California
                                        1
             State Defendants’ Notice of Motion and Motion to Dismiss Second Amended Complaint
                                                                               (3:20-cv-00998)
Case 3:20-cv-00998-BAS-JLB Document 12 Filed 07/21/20 PageID.220 Page 2 of 3



 1   Department of Public Health Sonia Angell1 (“State Defendants”) will and hereby do
 2   move to dismiss this action, in its entirety and with respect to each individual cause
 3   of action, under Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6).
 4        The State Defendants’ motion is made on the following grounds:
 5        (1) Plaintiff fails to state a claim on the merits because the public health
 6   order challenged in this lawsuit is an appropriate exercise of the State’s police and
 7   emergency powers to combat the COVID-19 pandemic, and because each of his
 8   claims would also fail under traditional constitutional analysis;
 9        (2) Plaintiff’s state-law claims are barred by sovereign immunity.
10        This motion is made following a substantive conference of counsel, which
11   took place telephonically on Tuesday, July 14, 2020, pursuant to Judge Bashant’s
12   Standing Order for Civil Cases, Rule 4(A).
13        This Motion is based on this Notice of Motion and Motion to Dismiss; the
14   accompanying Memorandum of Points and Authorities; the accompanying Request
15   for Judicial Notice and attached exhibits; all pleadings and papers on file in this
16   action; and upon such additional matters as the Court may deem appropriate.
17   Dated: July 21, 2020                             Respectfully Submitted,
18                                                    XAVIER BECERRA
19                                                    Attorney General of California
                                                      PAUL STEIN
20                                                    Supervising Deputy Attorney General

21
22                                                    /s/ Natasha Saggar Sheth
23                                                    NATASHA SAGGAR SHETH
                                                      Deputy Attorney General
24                                                    Attorneys for Governor Gavin
                                                      Newsom and Sonia Y. Angell, in
25                                                    their official capacities

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27
           1
             Dr. Angell was never served in this action, but is waiving service in this
28   instance.                            2
               State Defendants’ Notice of Motion and Motion to Dismiss Second Amended Complaint
                                                                                 (3:20-cv-00998)
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                              CERTIFICATE OF SERVICE
Case Name:       Forbes, Ashton v. County of San          No.    3:20-cv-00998-BAS-JLB
                 Diego, et al.

I hereby certify that on July 21, 2020, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:
    •    STATE DEFENDANTS' NOTICE OF MOTION AND MOTION TO DISMISS
         SECOND AMENDED COMPLAINT
    •    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF STATE
         DEFENDANTS' MOTION TO DISMISS SECOND AMENDED COMPLAINT
    •    STATE DEFENDANTS' REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
         MOTION TO DISMISS SECOND AMENDED COMPLAINT
I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California the foregoing is true
and correct and that this declaration was executed on July 21, 2020, at San Francisco, California.


                M. Mendiola
                 Declarant                                           Signature
SA2020302047
42276744.docx
